                                                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                                                                    IN THE WESTERN DISTRICT OF MICHIGAN
                                                                                                                                                             SOUTHERN DIVISION

                                                                                                                               STEVEN CHESLEK, On Behalf of Himself
                                                                                                                               and All Others Similarly Situated,
                                                                                                                                                                        Case No. 1:16-cv-01183
                                                                                                                                            Plaintiff,
                                                                                                                                                                        Hon. Janet T. Neff
                                                                                                                               v.
DYKEMA GOSSETT•A PROFESSIONAL LIMITED LIABILITY COMPANY•CAPITOL VIEW, 201 TOWNSEND STREET, SUITE 900•LANSING, MICHIGAN 48933




                                                                                                                               ENCORE CAPITAL GROUP, INC., ASSET
                                                                                                                               ACCEPTANCE CAPITAL CORP aka ASSET
                                                                                                                               ACCEPTANCE, MIDLAND FUNDING,
                                                                                                                               LLC., KARLI ANNE PETERSON and
                                                                                                                               ELIZABETH M. SMITH, ANDREW PERRY,
                                                                                                                               STEPHANIE CARRINGTON PETTWAY,
                                                                                                                               and JANE and JOHN DOE NOTARIES (1-
                                                                                                                               10),

                                                                                                                                            Defendants.

                                                                                                                               Brian P. Parker (P48617)               Robert M. Horwitz (P51466)
                                                                                                                               Brian P. Parker PC                     Dykema Gossett PLLC
                                                                                                                               Attorney for Plaintiff                 Attorney for Defendants
                                                                                                                               2000 Town Ctr Ste 1900                 400 Renaissance Ctr
                                                                                                                               Southfield, MI 48075-1152              Detroit, MI 48243
                                                                                                                               (248) 342-9583                         (313) 568-5384

                                                                                                                               Nicholas A. Reyna (P68328)              Theodore W. Seitz (P60302)
                                                                                                                               Law Office of Nicholas Reyna PC         Kyle M. Asher (P80359)
                                                                                                                               Attorney for Plaintiff                  Dykema Gossett PLLC
                                                                                                                               528 Bridge St NW 1A                     Attorneys for Defendants
                                                                                                                               Grand Rapids, MI 49504-5349             201 Townsend Street, Suite 900
                                                                                                                               (616) 235-4444                          Lansing, MI 48933
                                                                                                                                                                       (517) 374-9100
                                                                                                                               ______________________________________________________________________________

                                                                                                                                    DEFENDANTS’ SUPPLEMENTAL BRIEF TO ADDRESS THE APPLICATION OF
                                                                                                                                                 NEWMAN V. ENCORE CAPITAL GROUP, INC.
                                                                                                                                                         DEFENDANTS’ SUPPLEMENTAL BRIEF

                                                                                                                                      At this Court’s direction (Dkt. 43), this brief address the application of the recent opinion

                                                                                                                               in Newman v. Encore Capital Grp., Inc., No. 2:16-cv-11395, Dkt. 39 (E.D. Mich. Aug. 14, 2017)

                                                                                                                               (Leitman, J.) (Attached as Exhibit A). For the following reasons, Newman should be applied in

                                                                                                                               this case to dismiss all of Cheslek’s claims for lack of Article III standing.

                                                                                                                                      In Newman, the court found that the only claims plaintiffs alleged that were fairly
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                                                                                                                               traceable to a concrete injury—and thus did not require dismissal for want of Article III

                                                                                                                               standing—were those claims based on the allegation that affidavits attached to Midland’s state

                                                                                                                               court collection complaints were “fraudulently-notarized” or “robo-signed.” The court reasoned

                                                                                                                               that, given the specific facts before it, the “fraudulent-notarization” (if proven) caused a concrete

                                                                                                                               harm for two reasons. First, under Michigan law, the notarization “shifted the burden” to the

                                                                                                                               plaintiffs (the state court defendants) to respond with their own affidavits showing they were not

                                                                                                                               indebted to Midland. The plaintiffs, however, testified (through declarations attached to the

                                                                                                                               amended complaint) they could not meet this burden by filing an affidavit because “they did not

                                                                                                                               know whether Midland had, in fact, purchased their debts,” could not make a sworn statement

                                                                                                                               one way or the other, and otherwise thought Midland “could prevail.” Newman, Op. & Order at

                                                                                                                               7-9, 24. Thus, in Newman, the first concrete injury caused by the false-notarization (if proven)

                                                                                                                               was the creation of a “burden of production [plaintiffs] could not carry.” Id. And second, the

                                                                                                                               court found that the false-notarization (if proven) caused the plaintiffs to engage in additional

                                                                                                                               work by filing “a motion to strike the affidavits in order to prevent the entry of judgment against

                                                                                                                               them.” Id. at 24.

                                                                                                                                      The only concrete injuries identified in Newman, however, are non-existent in this case.

                                                                                                                               Even accepting as true under Rule 12(b)(6) that the affidavit was falsely-notarized, that false-



                                                                                                                                                                                 1
                                                                                                                               notarization would not have created a “burden of production [Plaintiff] could not carry.” Unlike

                                                                                                                               in Newman, where the plaintiffs could not submit affidavits because they thought Midland

                                                                                                                               “could prevail” and did not know for certain whether Midland owned their debt, in this case,

                                                                                                                               although he did not deny owing the debt in general, Cheslek was adamant that he did not owe the

                                                                                                                               debt to Midland, stating that “when I received the lawsuit, I did not believe I owed Midland

                                                                                                                               Funding this debt” and that “I knew I did not owe this debt to Midland and did not know who
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                                                                                                                               they were.” (Cheslek Aff., Dkt. 5-14, PageID.455.) Because Cheslek believed he did not owe

                                                                                                                               the debt to Midland when he received the lawsuit, nothing prevented him from filing the affidavit

                                                                                                                               required by MCL § 600.2145 with his answer. And also unlike Newman, Cheslek did not engage

                                                                                                                               in any extra work by filing a motion to strike the affidavits. Instead, like defendants in most

                                                                                                                               cases, he filed only an answer in response to the collection complaint. (Dkt. 39-1.)

                                                                                                                                      No other factual differences between this case and Newman compel a finding of standing.

                                                                                                                               In response to Defendants’ motion to transfer venue, Cheslek identified only two factual

                                                                                                                               differences between his case and Newman: (1) the state court collection action against him was

                                                                                                                               dismissed with prejudice, whereas in Newman, the complaints were dismissed without prejudice

                                                                                                                               (Dkt. 18, PageID.743.); and (2) “the focus [in this case] is on the thousands of Affidavits without

                                                                                                                               Ms. Peterson’s signature but all signed on the ‘second page,’ rather than just Ms. Peterson as

                                                                                                                               predominates in the Newman case. Newman focuses on Peterson. Cheslek focuses on the plan

                                                                                                                               and scheme in support of collections lawsuits and subsequent Default Judgments under MCL

                                                                                                                               600.2145.” (Id. at PageID.744.)

                                                                                                                                      The dismissal of the state court collection complaint against Cheslek with prejudice

                                                                                                                               actually strengthens a finding that Article III standing is lacking. In Newman, the court correctly

                                                                                                                               interpreted the Supreme Court’s decision in Clapper v. Amnesty International, 133 S. Ct. 1338



                                                                                                                                                                               2
                                                                                                                               (2013), and rejected the plaintiffs’ argument that they had standing because the defendants’

                                                                                                                               collection actions caused a “risk” that they could have suffered a default judgment. The court’s

                                                                                                                               determination was based on the fact that “the risk-based standing inquiry is forward looking—at

                                                                                                                               the time of suit, the plaintiff must face ‘a substantial risk that the harm will occur.’” Newman,

                                                                                                                               Op. & Order at 18. Because the plaintiffs’ “secured a dismissal” of the collection action, they

                                                                                                                               did not allege that they “continue[d] to face the risk of default judgment[.]” The same is true
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                                                                                                                               here. Indeed, that Cheslek’s state court complaint was dismissed with prejudice conclusively

                                                                                                                               shows that he cannot face a default judgment as a result of the complained-of conduct. Thus,

                                                                                                                               Cheslek cannot rest on this “risk of harm” theory to establish standing.

                                                                                                                                      Cheslek’s focus on “the thousands of Affidavits” that were allegedly robo-signed

                                                                                                                               “without Ms. Peterson’s signature but all signed on the ‘second page’ rather than just Ms.

                                                                                                                               Peterson as predominates in the Newman case,” is immaterial. Critically, the affidavit attached

                                                                                                                               to Cheslek’s state court complaint (Dkt. 5-8, PageID.322) was not among the “thousands of

                                                                                                                               Affidavits” without Ms. Peterson’s signature. As with the affidavits in Newman, Cheslek’s

                                                                                                                               affidavit contained the notary stamp and (allegedly false) signature of Ms. Peterson. (Id.) The

                                                                                                                               court in Newman correctly recognized that it is the injury suffered by the named plaintiff that

                                                                                                                               matters to determine whether the named plaintiff has Article III standing. And that alleged

                                                                                                                               injury—receiving an allegedly falsely-notarized signature bearing Karli Anne Peterson’s

                                                                                                                               name—is the same in this case as it was in Newman.

                                                                                                                                      Moreover, that Cheslek, unlike the plaintiffs in Newman, alleged “[a]ctual damages in the

                                                                                                                               form of the required elevated responses, stress and out of pocket costs of having to respond to a

                                                                                                                               false debt collection lawsuit under MCL 600.2145” (Am. Compl. ¶ 113d (sic), PageID.282),

                                                                                                                               does not warrant a finding of standing. As Newman recognized, a plaintiff “must demonstrate



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                                                                                                                               that her concrete injury is ‘fairly traceable to the challenged action of the defendant.’” Newman,

                                                                                                                               Op. & Order at 25 (citation omitted). Put differently, the allegation of a single concrete injury

                                                                                                                               “does not automatically grant [a plaintiff] Article III standing to challenge all of Defendants’

                                                                                                                               collection practices that are identified in the Amended Complaint.” Id. (emphasis added). If that

                                                                                                                               were the case, a plaintiff could allege a complaint-full of statutory violations that did not cause a

                                                                                                                               concrete injury, so long as one count in the complaint did allegedly cause a concrete injury. That
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                                                                                                                               is not so. Each alleged statutory violation must be fairly traceable to a concrete injury.

                                                                                                                                      The court in Newman correctly applied this standing principle to dismiss all the FDCPA

                                                                                                                               claims based on Defendants’ collection practices that were not fairly traceable to the concrete

                                                                                                                               injury that was alleged, id. at 25-26, and this Court should do the same. The same analysis

                                                                                                                               regarding the inability of a general allegation about actual damages to establish standing for all

                                                                                                                               claims applies in this case. Cheslek’s bare allegations of “stress” and “out of pocket expenses”

                                                                                                                               do not automatically provide him with Article III standing for every alleged FDCPA violation

                                                                                                                               based on every allegedly wrongful collection practice. This Court must examine each alleged

                                                                                                                               violation to determine whether that violation is fairly traceable to a concrete injury. Here, the

                                                                                                                               alleged wrongful collection practices are not “fairly traceable” to a concrete injury, including that

                                                                                                                               of “stress” or “out of pocket expenses.” Although Cheslek does not allege what caused the stress

                                                                                                                               or out of pocket expenses, it is implausible that any heightened “stress” or “expenses” resulted

                                                                                                                               from: “Defendants’ labeling the Collection Complaints as ‘Verified’; Defendants’ use of case

                                                                                                                               captions and words ‘the obligation sued upon’ in the Ownership and Delinquency Affidavits;

                                                                                                                               Defendant Attorneys’ failure to meaningfully review the substance of the Collection Complaints

                                                                                                                               prior to signing those complaints; Defendants’ failure to attach documents to the Collection

                                                                                                                               Complaint proving the underlying obligation; and Defendants’ use of the collection practices to



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                                                                                                                               secure default judgments from Michigan consumers and to collect debt that Midland does not

                                                                                                                               own.” Newman, Op. & Order at 26.

                                                                                                                                      Finally, the remainder of the Newman court’s legal analysis was correct, and supports the

                                                                                                                               arguments made in Defendants’ Motion to Dismiss in this case. In Newman, the court accepted

                                                                                                                               the following arguments, all of which Defendants raised in this case: plaintiffs’ citation to cases

                                                                                                                               relying on Church was misplaced because the Sixth Circuit has rejected Church’s analysis,
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                                                                                                                               Newman, Op. & Order at 15; that there is no case law supporting the argument that the “failure to

                                                                                                                               maintain adequate procedures to prevent violations of the FDCPA and MRCPA, itself, cause[s] a

                                                                                                                               concrete injury sufficient to confer standing,” id. at 19; that injuries potentially suffered by

                                                                                                                               putative class members, but not by plaintiffs themselves, are immaterial to whether plaintiffs

                                                                                                                               have standing, id. at 20-21; and that defendants who have no involvement in the alleged statutory

                                                                                                                               violations must be dismissed, id. at 41-42.

                                                                                                                                      For these reasons, and those mentioned in prior briefs filed in support of Defendants’

                                                                                                                               Motion, Defendants request dismissal of the Amended Complaint, in its entirety.

                                                                                                                                                                                    Respectfully submitted,

                                                                                                                               Dated: September 15, 2017                           DYKEMA GOSSETT PLLC

                                                                                                                                                                        By:         /s/ Theodore W. Seitz
                                                                                                                                                                                    Theodore W. Seitz (P60302)
                                                                                                                                                                                    Robert M. Horwitz (P51466)
                                                                                                                                                                                    Kyle M. Asher (P80359)
                                                                                                                                                                                    Attorneys for Defendants
                                                                                                                                                                                    201 Townsend Street, Suite 900
                                                                                                                                                                                    Lansing, MI 48933
                                                                                                                                                                                    (517) 374-9137




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                                                                                                                                                               CERTIFICATE OF SERVICE

                                                                                                                                      I hereby certify that on September 15, 2017, I electronically filed the foregoing document

                                                                                                                               with the Clerk of the Court using the ECF system which will send notification of such filing to

                                                                                                                               counsel of record. I hereby certify that I have mailed by United States Postal Service the same to

                                                                                                                               any non-ECF participants.
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                                                                                                                                                                                   /s/ Theodore W. Seitz
                                                                                                                                                                                   Theodore W. Seitz (P60302)
                                                                                                                                                                                   Robert M. Horwitz (P51466)
                                                                                                                                                                                   Kyle M. Asher (P80359)
                                                                                                                                                                                   Attorneys for Defendants
                                                                                                                                                                                   201 Townsend Street, Suite 900
                                                                                                                                                                                   Lansing, MI 48933
                                                                                                                                                                                   (517) 374-9137




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